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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION


 UNITED STATES OF AMERICA,
                                          CRIMINAL FILE NO.
        v.                                1:11-CR-255-4-TWT
 ASHLEY HENDERSON
 also known as
 AJ Henderson,
   Defendant.


                                     ORDER

      This is a criminal case. It is before the Court on the Court on the Report and

Recommendation [Doc. 414] of the Magistrate Judge recommending denying the

Defendant’s Motions to Suppress Identification [Doc. 189 & 234].         The Court

approves and adopts the Report and Recommendation as the judgment of the Court.

For the reasons set forth in the thorough and well reasoned Report and

Recommendation, the Defendant’s Motions to Suppress Identification [Doc. 189 &

234] are DENIED.

      SO ORDERED, this 11 day of May, 2012.


                                /s/Thomas W. Thrash
                                THOMAS W. THRASH, JR.
                                United States District Judge
